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                EXHIBIT 7
               Case 1:21-cv-03264-CRC Document 1-7 Filed 12/13/21 Page 2 of 5


  From: Daniel Ward dan@wardberry.com
Subject: Re: Grassroots Analytics
   Date: December 12, 2021 at 3:16 PM
     To: Kate Barton kateh.barton@gmail.com
    Cc: Kerry McCarthy kerry@wardberry.com, Sarah Carr sarah@wardberry.com


       Hi Kate,

       Thank you for your response. I appreciate what you said in your email, but am more
       concerned by what you have not said. In particular, you do not deny that, after your
       separation from Grassroots, you accessed confidential Grassroots files and data without
       authorization (and/or in excess of your authorization), copied confidential Grassroots files
       and data without authorization, and/or emailed confidential Grassroots files and data to
       your personal email address without authorization.

       Your silence on this point is deafening. See the attached files, which are exemplary of the
       evidence we possess of your malfeasance. Our investigation continues, but just based on
       what we have discovered since Friday, I have been directed to file a complaint tomorrow
       against you for, inter alia, breach of contract, theft of trade secrets, and CFAA violations.
       We will seek immediate injunctive relief against you (and any others involved) to prevent
       you from further disseminating or using Grassroots trade secrets and confidential data.

       Nothing in your email changes these facts. If there is a way to avoid what will certainly be
       a very protracted bit of litigation, I’d be happy to discuss. Unfortunately, your email, the
       glaring omissions therein, and the clear evidence we have already uncovered of your
       misdeeds, do not give me confidence that we can avoid going down this difficult path.

       I urge you to have your counsel contact me as soon as is practicably possible (if you are
       indeed represented by counsel.) If you are represented by counsel, I can no longer
       communicate with you directly. Be advised that we will be filing our complaint and motion
       for a temporary restraining order against you tomorrow.

       Thank you,

       Dan Ward

       Daniel S. Ward
       WARD & BERRY, PLLC
       1751 Pinnacle Drive
       Suite 900
       Tysons, Virginia 22102
       (202) 331-8160
       www.wardberry.com
       www.govconlaw.com
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       and may be unlawful. When addressed to our clients any opinions or advice
       contained in this email are subject to the terms and conditions expressed in
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contained in this email are subject to the terms and conditions expressed in
the governing Ward & Berry client engagement letter.
******************************************************************
Think Green! Please don't print this e-mail unless you need to.


From: Kate Barton <kateh.barton@gmail.com>
Date: Sunday, December 12, 2021 at 2:35 PM
To: Daniel Ward <dan@wardberry.com>
Cc: Kerry McCarthy <kerry@wardberry.com>, Sarah Carr <sarah@wardberry.com>
Subject: Re: Grassroots Analytics

Hi Dan,

I hope you are enjoying your weekend. Given that the turnaround time provided for a
response is outside of business hours, I wanted to respond now in good faith but will
have a formal response from my legal counsel as soon as possible once business hours
resume.

I will confirm to you that I have never sold "confidential Grassroots files or data"
to any business or individual mentioned in this letter or otherwise operating as an
employee of Grassroots Analytics, as the Director of Progressive Donor Advising, or as
an individual.

Eden McKissick-Hawley is a dear, personal friend of mine resulting from our meeting at a
DCCC training in August of 2019 and I know Eric Coates as a result of that relationship. I
have never been in contact with Ben Bobo or True Blue Analytics, nor have I ever sold or
shared or attempted to sell or share "confidential Grassroots files and data" to Ben Bobo
or True Blue Analytics directly or indirectly. It is my understanding that Eden McKissick-
Hawley and Eric Coates both performed business with Grassroots Analytics while I was
an employee there. Eden McKissick-Hawley was a known client of mine while I was
Director of Campaign Strategy at Grassroots Analytics and she is the owner of Tall Poppy
Fundraising, so I will not speak further at this time to what is suggested in your letter. I
have never as a Grassroots Analytics employee, as the Director of Progressive Donor
Advising, or as an individual, sold or shared or attempted to sell or share data to Eric
Coates or any business entities he may be affiliated with.

I hope that is helpful and enough to satisfy any concerns. As I mentioned, my legal
counsel will be in touch as soon as possible once business hours resume.

I look forward to clearing up any additional misunderstanding.

Best holiday wishes to you and yours,
Kate Barton




On Fri, Dec 10, 2021 at 5:07 PM Daniel Ward <dan@wardberry.com> wrote:

  Ms. Barton,
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Ms. Barton,

Please see the attached correspondence. I look forward to your prompt response.

Thanks,

Dan

Daniel S. Ward
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www.govconlaw.com
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